                                       Case 3:17-cv-00095-MMD-CLB Document 147 Filed 12/29/20 Page 1 of 2




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 The Geddes Law Firm, P.C.




                                13                                     DISTRICT OF NEVADA
    Phone 775-853-9455
       Reno, NV 89502




                                14 JOHN ENOS, an individual,                            CASE NO: 3:17-cv-00095-MMD-CLB
                                15                                  Plaintiff,
                                16 vs.
                                                                                           AMENDED
                                                                                           STIPULATION AND [PROPOSED]
                                17 DOUGLAS COUNTY, a political subdivision               ORDER TO ENLARGE TIME TO FILE
                                     of the State of Nevada; SCOTT SHICK, Chief          PROPOSED JOINT PRETRIAL ORDER
                                18 Juvenile Probation Officer of the Juvenile
                                     Probation Department; et al.                                      (Eighth Request)
                                19
                                                                    Defendants.
                                20
                                21
                                            COMES NOW Plaintiff JOHN ENOS and Defendants DOUGLAS COUNTY, SCOTT SHICK,
                                22
                                     and VICTORIA SAUER-LAMB, by and through their undersigned attorneys of record, and hereby
                                23
                                     request a 16-day enlargement of time for the parties to file their proposed Joint Pretrial Order (JPTO).
                                24
                                     The proposed JPTO is currently due on Wednesday, December 23, 2020.
                                25
                                            The parties are continuing to prepare the JPTO in this matter. The parties have exchanged
                                26
                                     additional drafts of their respective proposed pre-trial orders and are continuing to confer on the
                                27
                                     stipulations and other matters.     The parties believe that an additional brief extension is required;
                                28


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                                       Case 3:17-cv-00095-MMD-CLB Document 147 Filed 12/29/20 Page 2 of 2




                                 1 however, with the upcoming Christmas and New Year’s holidays, the parties request time beyond the
                                 2 New Year’s holiday in order to accommodate the intervening holidays. The parties represent to the
                                 3 Court that they take seriously the obligation to arrive at stipulations concerning, issues of fact, law and
                                 4 exhibits, and the parties require additional time to meet and confer on these issues in order to do so.
                                 5 Consequently, the parties request an additional extension of time, up to and including Friday, January
                                      2021
                                 6 8, 2020.
                                 7          This is the parties’ eighth request to extend this deadline, and the parties submit that this request

                                 8 is not for the purpose of undue delay.
                                 9 Dated this 29th day of December 2020.
                                10         THE GEDDES LAW FIRM, P.C.
                                11   By:
                                12         KRISTEN R. GEDDES
                                           Nevada Bar Number 9027
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                                           Reno, Nevada 89502
       Reno, NV 89502




                                14         Phone: (775) 853-9455
                                           Attorneys for Plaintiff John Enos
                                15 Dated this 29th day of December 2020.
                                16
                                           THORNDAL ARMSTRONG DELK
                                17         BALENBUSH & EISINGER

                                18         Electronic Signature Authorized

                                19   By: /s/
                                         Katherine F. Parks, Esq.
                                20       6590 S. McCarran Blvd, Suite B
                                         Reno, Nevada 89509
                                21       Phone: (775) 786—2882
                                         Attorneys for Defendants
                                22
                                                                                        II.
                                23
                                                                                     ORDER
                                24
                                            IT IS SO ORDERED.
                                25
                                            Dated: December 29, 2020
                                26
                                27
                                                                                              UNITED STATES DISTRICT JUDGE
                                28


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